STRATUMLAW LLC
2424 E. York St. Ste. 223                                                    (215) 621-8008
Philadelphia, PA 19125                                                       www.stratumlaw.com


Via ECF                                                                 September , 2022
Hon. Magistrate Judge Valerie Figueredo
United States District Court
Southern District of New York                                                    9-12-2022
500 Pearl St.                                       The discovery conference scheduled for September 13,
New York, NY 10007                                  2022 is hereby adjourned. The Clerk of Court is directed
                                                    to close the motion at ECF No. 159.

         Re:     Case # 19-cv-09407 - Ameriway Corp. v. May Yan Chen and Ability Customs
                 Inc. – PLAINTIFF’S LETTER MOTION FOR POSTPONEMENT OF THE
                 SEPTEMBER 13, 2022 DISCOVERY CONFERENCE

Dear Judge Figueredo:

Plaintiff Ameriway Corporation requests a postponement of the upcoming discovery conference
scheduled for September 13 until Judge Broderick rules on Plaintiff’s Letter Motion to Stay
Discovery Based on New Evidence, filed September 9, 2022. See Dkt. No. 158. Plaintiff
requested a complete discovery stay because Defendant Chen recently submitted to the Court as
substantive evidence three fabricated email exhibits in support of her purported lien over the five
cargo containers at the center of this case. Plaintiff already has a sanctions motion pending for
default judgment and dismissal, submitted June 24, which could have dispositive effect.

On August 16, Chen’s counsel submitted a “Status Report” to the Court, which includes three
“Exhibit email[s] to New Client[s]” “clear[ly] referenc[ing]…the transmission of a copy of the
terms and conditions” (the ’94 Terms lien document) as early as 2013. Dkt. No. 157. However,
the email exhibits are not in native file format, as repeatedly requested by Plaintiff. They are
scanned .PDF files of hardcopies that Chen claims to have recently found in storage “boxes.” Id.
Chen alleges she cannot find any emails containing the ’94 Terms on her server. Id.

While the email exhibits purport to authenticate the ’94 Terms, Plaintiff’s forensic experts
presented substantial electronic evidence the PDF email files have been digitally manipulated to
support Chen’s claim. Dkt. No. 158, pp. 4-8. Further, Chen’s email, purportedly sent January
2013, contains specific date information that was not publically available until six months later,
on June 7, 2013. Id., pp. 2-3.

This is now the second fabricated lien document Chen and her counsel knowingly submitted to
the Court. The first one was indisputably manufactured by Chen’s lead counsel, Mr. William
Shayne, which they allegedly filed with the Court by “mistake” on six different occasions, and
which was the original basis of Plaintiff’s sanctions motion for “fraud on the Court.”
Nevertheless, Chen claims the ’94 Terms is the “real” lien document she meant to rely on all
along.
StratumLaw LLC
December 17, 2021
Page 2 of 2

In any event, the upcoming discovery conference will be unnecessary if Judge Broderick grants
Plaintiff’s motion to stay document discovery. Plaintiff thus respectfully submits there is good
cause to indefinitely postpone Tuesday’s hearing until Judge Broderick rules on the matter.


Respectfully submitted,



                                                                   By:_______________
                                                                   Xiyan Zhang
                                                                   Attorney for Plaintiff
                                                                   STRATUM LAW LLC
